                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                        CRIMINAL DOCKET NO.: 3:05CR104

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                        ORDER
RODGRICK JAMES FRIESON (18),        )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on the Government’s “Notice of Appeal and Motion

for Revocation and Stay of the Magistrate’s Order,” filed October 5, 2005.

       Defendant was arrested on April 29, 2005, and charged by way of a Bill of Indictment

with conspiracy to possess with intent to distribute and distribution of cocaine and cocaine base,

in violation of 21 U.S.C. §§ 841, 846. United States Magistrate Judge David Keesler presided

over Defendant’s original detention hearing on March 4, 2005. At the conclusion of the hearing,

Defendant was ordered detained. Subsequently, on June 1, 2005, Defendant again appeared

before Magistrate Judge Keesler and requested temporary release from custody due to the death

of his teenage son. The Magistrate Judge denied Defendant’s request, finding that the death of

Defendant’s son was an insufficient change in circumstances to permit a short term release.

Defendant appealed the Magistrate Judge’s denial of bond to this Court. In an Order dated June

3, 2005, this Court affirmed Magistrate Judge Keesler’s denial of bond. Most recently, on

October 5, 2005, Defendant appeared before United States Magistrate Judge Carl Horn, III, again

asking to be released on bond.

       Since the Grand Jury found that probable cause exists that Defendant committed an


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offense for which a maximum term of imprisonment of ten (10) years or more is prescribed, a

rebuttable presumption arises that no condition or combination of conditions will reasonably

assure the appearance of a person as required and the safety of the community. 18 U.S.C. §

3142(e). Defendant contends that this presumption is rebutted in this matter due to the fact that

he completed drug and mental health treatment while in the custody of the Mecklenburg County

Jail, he had a full-time job prior to his arrest, he has a place to live when released on bond, and he

has three children that he is raising alone. Moreover, Defendant argues that a review of the

discovery provided by the Government leads to the conclusion that there is insufficient evidence

for the Government to prove its case against Defendant. At the conclusion of the hearing,

Magistrate Judge Horn granted Defendant’s Motion for Bond and released Defendant. The

Magistrate Judge concluded that the fact that Defendant had completed drug and mental health

treatment programs, had children to support, and could live with his mother upon release were all

sufficient factors to warrant release at that time. Moreover, Magistrate Judge Horn released the

Defendant upon the conditions that Defendant: (1) execute an unsecured bond of $25,000; (2)

reside with his mother; (3) continue full-time employment; (4) comply with electronic monitoring;

(5) continue with regular drug testing and drug treatment; (6) support his children; and (7) not be

released from detention until the electronic monitoring was in place. The Government opposes

this release and moves for an Order of Revocation of the Magistrate Judge’s Order of Release.

       This Court reviews de novo the Magistrate Judge’s detention order. United States v.

Williams, 753 F.2d 329, 333 (4th Cir. 1985). The Court has reviewed the recording of the hearing

before Magistrate Judge Horn, as well as the contents of the criminal file in this matter. In

determining whether there are conditions of release that will reasonably assure the appearance of


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the Defendant and the safety of other persons and the community, the Court must consider all the

evidence regarding:

       (1)     the nature and circumstances of the offense charged, including whether the
               offense is a crime of violence or involves a narcotic drug;

       (2)     the weight of the evidence against the person;

       (3)     the history and characteristics of the person, including –
               (A)     the person’s character, physical and mental condition, family ties,
                       employment, financial resources, length of residence in the
                       community, community ties, past conduct, history relating to drug
                       or alcohol abuse, criminal history, and record concerning
                       appearances at court proceedings; and
               (B)     whether, at the time of the current offense or arrest, the person was
                       on probation, on parole, or on other release pending trial,
                       sentencing, appeal, or completion of sentence for an offense under
                       Federal, State, or local law; and

       (4)     the nature and seriousness of the danger to any person or the community
               that would be posed upon the person’s release. . . .

18 U.S.C. § 3142(g).

       Upon review of these factors and for the reasons stated herein, the Court accepts the

Magistrate Judge’s finding that bond is appropriate. In support of this finding, the Court finds

significant that the only evidence the Government provided in discovery against this Defendant is

one attempted purchase of cocaine by co-defendant Amos Hall, which never materialized.

According to defense counsel, this interaction with Mr. Hall constitutes the totality of evidence

the Government has against Defendant. The Government did not rebut this argument. The lack

of evidence that the Government has against Defendant is a significant factor that weighs in favor

of releasing Defendant on bond. In addition to the lack of evidence, since Defendant’s first

detention hearing he has completed drug and mental health treatment in the Mecklenburg County



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Jail. Moreover, as found by the Magistrate Judge, the Defendant has ties to the community, held

a full-time job prior to his arrest, has a residence where he can live upon release, and has three

small children that are under his care.

       Defendant will live with is mother while out on bond and will work full-time to support his

children. Defendant will be subject to drug testing and will attend a drug treatment program.

Moreover, Defendant will be supervised by electronic monitoring and will not be released until

such electronic monitoring is in place. Taking all of the factors into consideration, the Court finds

that this combination of conditions, along with the requirements imposed by the Magistrate Judge,

will reasonably assure the appearance of Defendant and the safety of the community.

       IT IS, THEREFORE, ORDERED that the Government’s “Notice of Appeal and

Motion for Revocation and Stay of Magistrate’s Order” is hereby DENIED. Accordingly, the

Order of Magistrate Judge Horn authorizing release is hereby AFFIRMED.

       IT IS FURTHER ORDERED that Defendant be released upon the same terms and

conditions as ordered by Magistrate Judge Horn on October 5, 2005.

       IT IS FURTHER ORDERED that the Clerk certify copies of this Order to Defense

Counsel, the United States Attorney, the United States Marshal Service, and the United States

Probation Office.




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                        Signed: October 6, 2005




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